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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

IN RE MONSTER WORLDWIDE, INC. : 07 Civ. 2237 (JSR)
SECURITIES LITIGATION :

TTT rn x ORDER
JED S. RAKOFF, U.S.D.J.

On April 22, 2008, the Government moved for an order staying
certain discovery in this action for 30 days, with leave to seek an
additional stay as appropriate within that 30 day period. On April
30, 2008, the Government unsealed an indictment against James J.
Treacy, former President and Chief Operating Officer of Monster, see
United States v. James J. Treacy, 08 Cr. 366. The criminal case has
been assigned to the Honorable Robert L. Carter, who held a
scheduling conference in the matter on May 12, 2008. On May 6, 2008,
this Court granted the Government’s request for a stay until May 22,
2008 so that the Court could take into consideration whatever
schedule Judge Carter set at the above-mentioned criminal conference.
By letter dated May 19, 2008, the Government informed the Court that
Judge Carter scheduled a trial in the criminal matter to begin on
August 4, 2008 and to last 4 weeks. The Government requested an
extension of the stay until September 5, 2008. On June 2, 2008 at
4:30 p.m., the Court will hold an in-court hearing to further
evaluate the Government’s motion. Therefore, the stay is hereby

extended until June 2, 2008.

SO ORDERED. dA Pad

 

 

 

 

f JED Ss. RAKOFF, @.S.D.J.

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